    Case 2:18-cv-03822-DDP-AFM Document 115-1 Filed 06/29/20 Page 1 of 3 Page ID
Martorell Law APC
Eduardo Martorell (SBN: 240027)
                                     #:1012
6100 Center Drive, Suite 1130
Los Angeles, CA 90045
P: 323-840-1200; F: 323-840-1300
Attorney for Plaintiff, Kerry Marshall




Kerry Marshall, Jr., p/k/a
Kerry2Smooth and K2S                          CV-03822-DDP-AFMx


Durrell Babbs, p/k/a Tank; Jeremy
Hairston; Johnnie Newt; Rickey
Offord, p/k/a Slikk, p/k/a Slikk
Muzik: Atlantic Recordina Co., et al.et.
                           Co ..




           May 15, 2020

        Kerry Marshall, Jr.




        Jeremy
        JeremyHairston
                Hairston and Rickey Offord




                      45,089.00
                            0.00
                       7,359.88
                      15,306.37
                      67,755.25
Case 2:18-cv-03822-DDP-AFM Document 115-1 Filed 06/29/20 Page 2 of 3 Page ID
                                 #:1013


                                 Central                 California


                $835.34
                  0.00
                $835.34


                                                       0.00




             $68,590.59
             $68,590.59                                         10
                                                      18.56
      Case 2:18-cv-03822-DDP-AFM Document 115-1 Filed 06/29/20 Page 3 of 3 Page ID
                                       #:1014




i Jeremy        .                        7    1                                      7
           Hairston
    1210 Harvest Hill Ln
    Lancaster, TX 75146



L                                        _J   L                                      _J


'Rickey Offord
                                         7    1                                      7
 10208 Burgundy Dr.
 Frisco, TX 75035



L                                        _J   L                                      _J

i                                        7    1                                      7
    Dominique D. Calhoun, Esq.
    Calhoun, Meredith, and Sims, PLLC
    5444 Westheimer Road, Suite 1250
    Houston, Texas 77056
    Counsel for Rickey Offord
L                                        _J   L                                      _J

i                                        7    1                                      7




L                                        _J   L                                      _J

i                                        7    1                                      7




L                                        _J   L                                      _J
